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     In The United States Court of Federal Claims
                         Nos. 07-06T, 07-706T, 08-135T, & 08-605T

                                  (Filed: August 17, 2012)
                                         __________

  PRINCIPAL LIFE INSURANCE
  COMPANY AND SUBSIDIARIES, et al.,

                               Plaintiffs,

                        v.

  THE UNITED STATES,

                               Defendant.
                                         __________

                                              ORDER
                                             __________

        On August 16, 2012, defendant filed a motion for an enlargement of time of 45 days,
from September 24, 2012, to and including November 8, 2012, within which to file its response
to plaintiff’s motion for partial summary judgment and its cross-motion. That same day,
plaintiffs filed a response opposing defendant’s motion for an enlargement of time. That motion
is hereby GRANTED. Accordingly, the briefing schedule is revised as follows:

       1.     On or before November 8, 2012, defendant shall file its response to
              plaintiffs’ motion and its cross-motion for summary judgment;

       2.     On or before December 17, 2012, plaintiffs shall file their reply and their
              response to defendant’s cross-motion;

       3.     On or before January 21, 2013, defendant shall file its reply to its cross-
              motion; and

       4.     No further enlargements of the deadline for defendant’s response and
              cross-motion shall be granted.

       IT IS SO ORDERED.


                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
